                                            Case 18-12808-KG                                   Doc 62                Filed 01/11/19                        Page 1 of 13
 Fill in this information to identify the case:

 Debtor name            White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:                       DISTRICT OF DELAWARE

 Case number (if known)               18-12808
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $     564,894,578.91

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $     564,894,578.91


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $     371,887,767.40


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        6,087,896.26


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        377,975,663.66




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                                     Case 18-12808-KG                   Doc 62      Filed 01/11/19       Page 2 of 13
 Fill in this information to identify the case:

 Debtor name         White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-12808
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Wilmington Trust                                                                      1000                                           $0.00




            3.2.   Wilmington Trust                                         Borrower Account             1001                               $4,132,227.87




            3.3.   Wilmington Trust                                         Collection Account           1002                             $28,092,987.34




            3.4.   Wilmington Trust                                         Escrow Account               1003                                           $0.00




            3.5.   Wilmington Trust                                         Payment Account              1004                                 $969,363.70




            3.6.   Wilmington Trust                                         Policy Account               1005                                           $0.00



 4.         Other cash equivalents (Identify all)


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                     Case 18-12808-KG                   Doc 62      Filed 01/11/19           Page 3 of 13

 Debtor         White Eagle Asset Portfolio, LP                                                Case number (If known) 18-12808
                Name


 5.         Total of Part 1.                                                                                                     $33,194,578.91
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        4,000,000.00    -                                0.00 = ....            $4,000,000.00
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                          27,700,000.00    -                               0.00 =....            $27,700,000.00
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                     $31,700,000.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No.   Go to Part 6.
       Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No.   Go to Part 7.
       Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No.   Go to Part 8.
       Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                     Case 18-12808-KG                   Doc 62      Filed 01/11/19       Page 4 of 13

 Debtor         White Eagle Asset Portfolio, LP                                              Case number (If known) 18-12808
                Name


     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            585 life insurance policies with face value of $2.8 billion
            and present value of over $500 million                                                                                 $500,000,000.00 +




 78.        Total of Part 11.                                                                                                    $500,000,000.00 +
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                                        Case 18-12808-KG                           Doc 62             Filed 01/11/19                 Page 5 of 13

 Debtor          White Eagle Asset Portfolio, LP                                                                     Case number (If known) 18-12808
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                   Current value of real
                                                                                                     personal property                  property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $33,194,578.91

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                               $31,700,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                              $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +          $500,000,000.00 +

 91. Total. Add lines 80 through 90 for each column                                                     $564,894,578.91 +             + 91b.                    $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                            $564,894,578.91 +




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
                                        Case 18-12808-KG                    Doc 62           Filed 01/11/19        Page 6 of 13
 Fill in this information to identify the case:

 Debtor name          White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)              18-12808
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.

 2.1                                                                                                                 $371,887,767.40            $500,000,000.00
        CLMG Corp.                                    Describe debtor's property that is subject to a lien
        Creditor's Name                               All assets, including interests in life
        As Administrative Agent                       insurance policies and proceeds therefrom
        7195 Dallas Parkway
        Attn: James Erwin
        Plano, TX 75024
        Creditor's mailing address                    Describe the lien
                                                      Loan and Security Agreement, as amended
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed

        LNV Corporation, as
 2.2
        Lender                                        Describe debtor's property that is subject to a lien         Same as above                Same as above
        Creditor's Name
        c/o CLMG Corp.
        7195 Dallas Parkway
        Attn: James Erwin
        Plano, TX 75024
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                     Case 18-12808-KG                       Doc 62           Filed 01/11/19         Page 7 of 13
 Debtor       White Eagle Asset Portfolio, LP                                                         Case number (if know)    18-12808
              Name


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed


 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $371,887,767.40

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                     Case 18-12808-KG                     Doc 62          Filed 01/11/19                 Page 8 of 13
 Fill in this information to identify the case:

 Debtor name         White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          18-12808
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $117,423.35
           Curtis, Mallet-Prevost, Colt & Mosle LLP                           Contingent
           PO Box 27930                                                       Unliquidated
           New York, NY 10087-7930                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $1,284.00
           Daniel Coker Horton & Bell                                         Contingent
           4400 Old Canton Road                                               Unliquidated
           Suite 400                                                          Disputed
           Jackson, MS 39215-1084
                                                                             Basis for the claim:    Professional Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $327,739.47
           Holland & Knight LLP                                               Contingent
           PO Box 864084                                                      Unliquidated
           Orlando, FL 32886-4084                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $5,385,975.90
           Imperial Finance & Trading, LLC                                    Contingent
           701 Park Commerce Blvd.                                            Unliquidated
           Suite 301                                                          Disputed
           Boca Raton, FL 33487
                                                                             Basis for the claim:    Administrative Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                         40561                                               Best Case Bankruptcy
                                     Case 18-12808-KG                     Doc 62          Filed 01/11/19                 Page 9 of 13
 Debtor       White Eagle Asset Portfolio, LP                                                         Case number (if known)            18-12808
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $21,028.00
           K&L Gates LLP                                                      Contingent
           600 N King Street                                                  Unliquidated
           Suite 901                                                          Disputed
           Wilmington, DE 19801
                                                                             Basis for the claim:    Professional Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $144,137.50
           MLF Lexserv                                                        Contingent
           4350 East West Highway                                             Unliquidated
           Suite 905                                                          Disputed
           Bethesda, MD 20814
                                                                             Basis for the claim:    Servicing Fees
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $13,599.96
           Waldman Trigoboff Hildebrandt & Calnan                             Contingent
           Plaza 100, Suite 780                                               Unliquidated
           100 N.E. Third Avenue                                              Disputed
           Fort Lauderdale, FL 33301
                                                                             Basis for the claim:    Professional Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $22,364.75
           Weinberg Zareh Malkin Price LLP                                    Contingent
           45 Rockefeller Plaza                                               Unliquidated
           20th Floor                                                         Disputed
           New York, NY 10111
                                                                             Basis for the claim:    Professional Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.9       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $54,343.33
           Wilmington Trust, N.A.                                             Contingent
           1100 N Market Street                                               Unliquidated
           Wilmington, DE 19890                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    6,087,896.26

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        6,087,896.26




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                                    Case 18-12808-KG                 Doc 62         Filed 01/11/19        Page 10 of 13
 Fill in this information to identify the case:

 Debtor name         White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-12808
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Administrative Services
              lease is for and the nature of              Agreement dated May,
              the debtor's interest                       2014

                  State the term remaining                                            Imperial Finance & Trading, LLC
                                                                                      701 Park Commerce Blvd.
              List the contract number of any                                         Suite 301
                    government contract                                               Boca Raton, FL 33487


 2.2.         State what the contract or                  Portfolio Management
              lease is for and the nature of              Agreement dated May
              the debtor's interest                       16, 2014
                                                                                      Lamington Road Bermuda, LTD
                  State the term remaining                                            One Lane Hill
                                                                                      East Broadway
              List the contract number of any                                         Box Hm265
                    government contract                                               Hamilton HMAX BERMUDA


 2.3.         State what the contract or                  Servicing Agreement
              lease is for and the nature of              dated May 16, 2014
              the debtor's interest

                  State the term remaining                                            MLF LexServ
                                                                                      4350 East West Highway
              List the contract number of any                                         Suite 905
                    government contract                                               Bethesda, MD 20814


 2.4.         State what the contract or                  Amended and Restated
              lease is for and the nature of              Fee and
              the debtor's interest                       Indemnification
                                                          Agreement dated May
                                                          16, 2014
                  State the term remaining
                                                                                      Wilmington Trust, N.A.
              List the contract number of any                                         1100 N Market Street
                    government contract                                               Wilmington, DE 19890




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                    Case 18-12808-KG                         Doc 62   Filed 01/11/19         Page 11 of 13
 Debtor 1 White Eagle Asset Portfolio, LP                                                         Case number (if known)   18-12808
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.5.        State what the contract or                   Amended and Restated
             lease is for and the nature of               Securities Account
             the debtor's interest                        Control and Services
                                                          Agreement dated May
                                                          16, 2014
                  State the term remaining
                                                                                          Wilmington Trust, N.A.
             List the contract number of any                                              1100 N Market Street
                   government contract                                                    Wilmington, DE 19890




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                    Case 18-12808-KG                 Doc 62      Filed 01/11/19       Page 12 of 13
 Fill in this information to identify the case:

 Debtor name         White Eagle Asset Portfolio, LP

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         18-12808
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
   Case 18-12808-KG   Doc 62   Filed 01/11/19   Page 13 of 13




January 11, 2019
